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UNITED STATES DISTRICT COURT ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK DOC #:
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JOHN WILSON, —_—__——
Plaintiff,
-against- 20-cv-10324 (LAK)

FEDERAL BUREAU OF INVESTIGATION,

Defendant,

ORDER DENYING PLAINTIFF’S
MOTION FOR ATTORNEYS’ FEES

LEWIS A. KAPLAN, District Judge,

In a report and recommendation dated October 14, 2022 (the “R&R”), Magistrate
Judge Stewart Aaron recommended denial of plaintiff's motion for attorneys’ fees and other relief
in this FOIA action against the FBI on the ground that plaintiff ts not “entitled” to amy such relief.
and, alternatively, in the event he were, that the amount awarded should be $7,345 in fees and
$681.68 in costs. Plaintiff objects to the R&R.

{ have considered plaintiff's objections with care. Regardless of whether the R&R
is reviewed de novo or for the presence of clear error or inconsistency with the law — and [ have
done both— plaintiff’ s objections are without merit. The Pietrangela factors were properly analyzed
by the Magistrate Judge, who reached the only reasonable conclusion given the record in this case.

Plaintiff's motion [Dkt 59] is denied in all respects. The Clerk shall terminate any
outstanding motions, enter judgment, and close the case.

Lt.

Lewis A. Kaplan V
United States District Judge

SO ORDERED.

Dated: Noveinber 26, 2022
